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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 FRHUEB, INC.                                       Civil Action No.: 1:21-cv-07395

                            Plaintiff,

 v.

 THIAGO SABINO DE FREITAS ABDALA
 and PRISCILA PATTO
                    Defendants.



______________________________________________________________________________

   ORDER ENTERING INTERIM RESOLUTION OF PLAINTIFF’S INJUNCTION
                                APPLICATION
 ____________________________________________________________________________

       THIS MATTER, having been opened to the Court by Plaintiff and Defendants

(collectively, the “Parties”), jointly seeking a 30-day extension of the interim resolution of

Plaintiff’s injunction application which was approved by the Court on January 4, 2022 (“Interim

Resolution”), and having found that the Interim Resolution expressly stated that it could be

extended upon agreement of the Parties, and the Court having approved and good cause having

been shown;
                       21st day of March 2022:
       IT IS on this ______

       ORDERED that:

               1.      The provisions of the Interim Resolution hereby are extended and the new

expiration date is April 23, 2022, as per the agreement of the Parties.
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              2.      The hearing on Plaintiff’s injunction application, currently set for March
                                  April 21, 2022
                                    at 11:00 a.m.
23, 2022, will be adjourned until _______________, which is on or prior to April 23, 2022.



                                                           ______________________________
                                                            Honorable Ronnie Abrams, U.S.D.J
                                                            March 21, 2022




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